Case 8:14-cv-02004-DOC-KES Document 573 Filed 12/08/17 Page 1 of 1 Page ID #:75920



                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

   Case No. SA CV 14-2004-DOC (KESx)                                       Date: December 8, 2017

   Title: ANTHONY BASILE V VALEANT PHARMACEUTICAL INTERNATIONAL, INC.,
          ET AL


   PRESENT: The Honorable DAVID O. CARTER, U.S. District Judge

                                                                      Debbie Gale
                  Deborah Lewman                                     Deborah Parker
                  Courtroom Clerk                                    Court Reporter

   ATTORNEYS PRESENT FOR PLAINTIFF:               ATTORNEYS PRESENT FOR DEFENDANT:
              Lee D. Rudy                                  Mark C. Holscher
            Edward Timilin                                   John P. Coffey
          Gregory M. Castaldo                              Daniel G. Murphy
            Mark Lebovitch                                  John C. Hoeston
                                                             Moez M. Kaba
                                                            Steven Feldman
                                                         Ada Fernandez Johnson

   PROCEEDINGS:          DEFENDANTS’ MOTION FOR PARTIAL SUMMARY
                         JUDGMENT [395], PLAINTIFFS’ MOTION FOR PARTIAL
                         SUMMARY JUDGMENT [401], DEFENDANTS’ MOTION FOR
                         SUMMARY JUDGMENT; DEFENDANTS’ MOTION FOR ORER
                         FOR PROCESS FOR ALLOCATION AND DISTRIBUTION OF
                         POTENTIAL DAMAGES [558]; LEAD PLAINTIFFS’ MOTION
                         FOR ORDER FOR ALLOCATION PROCEDURE [559]


           Hearing held and continued to December 11, 2017 at 4:00 p.m.




                                                                                   2    :          03
                                                      Initials of Clerk      djl



   CV (10/08)                         CIVIL MINUTES - GENERAL                               Page 1 of 1
